

Lehman Bros. Intl. v AG Fin. Prods., Inc. (2024 NY Slip Op 01346)





Lehman Bros. Intl. v AG Fin. Prods., Inc.


2024 NY Slip Op 01346


Decided on March 14, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 14, 2024

Before: Webber, J.P., Oing, González, Kennedy, Shulman, JJ. 


Index No. 653284/11 Appeal No. 1845 Case No. 2023-03409 

[*1]Lehman Brothers International (Europe) (in Administration), Plaintiff-Appellant,
vAG Financial Products, Inc., Defendant-Respondent.


Quinn Emanuel Urquhart &amp; Sullivan LLP, New York (Andrew J. Rossman of counsel), for appellant.
Cleary Gottlieb Steen &amp; Hamilton LLP, New York (Roger A. Cooper of counsel), for respondent.



Judgment, Supreme Court, New York County (Melissa A. Crane, J.), entered June 30, 2023, dismissing plaintiff's remaining cause of action after a bench trial and awarding defendant/counterclaim plaintiff $20,663,300.20, plus interest, unanimously affirmed, with costs.
We affirm for the reasons set forth in Supreme Court's well-reasoned decision.
"In a nonjury trial, the decision of the fact-finding court should not be disturbed upon appeal unless it is obvious that the court's conclusions could not be reached under any fair interpretation of the evidence" (Watts v State of New York, 25 AD3d 324 [1st Dept 2006] [internal quotation marks omitted]). Here, there is no basis to disturb the trial court's determination, which is based upon its resolution of conflicting expert testimony.
We have considered plaintiff's remaining arguments, including that the trial court's decision after trial is inconsistent with our decision on summary judgment (see 168 AD3d 527 [1st Dept 2019]), and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 14, 2024








